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STATUTES

OF

THE REALM.

PRINTED BY COMMAND

OF HIS MAJESTY
KING GEORGE THE THIRD.

IN PURSUANCE OF AN ADDRESS OF

THE HOUSE OF COMMONS

OF GREAT BRITAIN.

From Original Records and Authentic Manuscripts.

VOLUME THE FIFTH.

MDCCCXIX
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358 14° Car. II. c. 3. A.D.1663.
SS
CHAPTER UL
uae. Ax Act for ordering the Forces in the several Counties of this Kingdom
quid das te RASMUCH as within all His Majesties Realmes and Dominions the sole and supreame Power Government
Militia, Sec. is ie Command and Disposition of the Militia and of all Forces by Sea and Land and of all Forts and places of
pe Kise, and that Strength is and by the Laws of England ever was the undoubted Right of His Majesty and His Royall Predecessors
pretend tothe sme. Kings and Queenes of England and that both or either of the Houses of Parliainent cannot nor ought to Prend
to the same nor can nor lawfully may raise or levy any War offensive or defensive against His Majesty His
Heires or lawfull Successors and yet the contrary thereof hath of late yeares beene practised almost to the ruine
and destruction of this Kingdome and during the late usurped Governments many evil and rebellious principles
have beene instilled into the minds of the people of this Kingdome which may breake forth unless prevented to
the disturbance of the peace and quiet thereof Bee it therefore declared and enacted by the Kings most Excellent
Majesty by and with the Advice and Consent of the Lords Spiritual and Temporal and Commons in Parliament
fie Ries one assembled and by the Authority of the same That the Kings most Excellent Majestie His Heires and Successor
of Lieutensocy. Shall and may from time to time as occasion shall require issue forth several! Commissions of Licutenancy to
such persons as His Majesty His Heires and Successors shall thinke fir to be His Majesties Leiutenants for the
severall & respective Counties Cities and places of England & Dominion of Wales and Town of Berwick upon
as to Tweed which Leiutenants shall have full power and authority to call togeather all such persons at such times
arm Troops ; and to arm and array them in such manner as is hereafter expressed and declared and to form them into
Companies Troops and Regiments and in case of Insurrection Rebellion or Invasion them to lead condu@ and
imploy or cause to be [lead‘} conduéted and imployed as well within the said severall Counties Cities and places
for which they shall be commissionated respectively as alsoe into any other the Counties and places aforesaid for
suppressing of all such Insurrettions and Rebellions and repelling of Invasions as may happen to bee according
to appoint aed as they shall from time to time receive direétions from His Majesty His Heires and Successors and that the aid
COs; respective Leiutenants shall have full power and authority from time to time [to constitute appointe and give
Commissions to such persons as they shall thinke fitt to be Colonels Majors Captaines and other Commission
ae oes Officers of the said persons so to be armed arrayed and*]} weaponed and to pisent to His Majestie His Heires
Linen and Successors rhe names of such person and persons as they shall thinke fitr to be Deputy Leiutenants and upon
Th King sy His Majesties approbacén of them shall give them Deputadons accordingly Alwaies understood that His Majesty His
Heires and Successors have power and authority to diret and order otherwise and accordingly att His and theire
pleasure may appoint and commissionate or displace such Officers Any thing in this A& to the contrary notwithstanding
Ligeate And that the said Leiutenants respectively and in theire absence out of the Precinéts and Limits of theire respective
ienane Leiutenancies or otherwise by theire directions the said Deputy Leiutenant¢ during theire said respective Deputations or
train, &c. Troops. any two or more of them shall have power from time to time to train exercise and put im readines and alsoe to lead
and conduét the persons so to be armed arrayed and weaponed by the directions and to the intents and purposes
as is hereafter expressed and declared
Lissaratn, foe Axp for the providing Horse and Armes and Furniture thereunto belonging for the arming and weaponing the

say charge Peres persons aforesaid and alsoe for the defraying and paying the necessary charges thereunto belonging in manner

hereafter followeth Be it further Enaéted That the said respective Leiutenants within the severall Counties Cities
and places for which they are nominated respectively and theire Deputies or the maior part of such Leiutenants
and Deputy Leiutenant¢ then present or in the absence of the Leiutenant or Leiutenants the maior part of the
Deputy Leiutenants then pent which maior part shall bee three att the least have hereby full Power and Authority
to charge any person with Horse Horsman and Armes or with Foot Souldier and Armes in the same County
Shire City Burrough or Towne Corporate where his her or theire Estates lic having respe& unto and not exceeding
the. limitations and proportions hereafter mentioned (that is to say) No person shall be charged with finding a
Horse Horseman and Armes unless such person or persons have a Revenue of Five hundred pounds by the yeare
in possession or have an Estate of Six thousand pounds in goods or money besides the furniture of his or theire
houses and so proportionably for a greater Estate in lands in possession or goods as the respeétive Lieutenants and
theire Deputies as aforesaid in theire discretions shall sce cause and thinke reasonable And they are not to charge any
person with finding a Foot Souldier and Armes that hath not a yearely Revenue of Fifty pounds in- possession or a
personal Estate of Six hundred pounds in goods or moneys (other then the stocke upon the ground) and after the
aforesaid rate proportionably for a greater or lewer Revenue or Estate Nor shall they charge any person with the
finding both of Horse and Foot in the same County.

Paovinep That no person chargeable by this A@ to finde [a’] Horse and Horseman with Armes or to be

to find a Horseman, Contributory towards finding an Horse and Horseman with Armes shall for the same Estate be chargeable towards

Se is eoee Eat

. finding a Foot Souldier with Armes or contributory thereunto And it shall be lawfull to and for the respective

for * Foot Selder. Leiutenants and Deputies or any three or more of them as aforesaid to impose the finding and providing of Horse

Lieutenants, &c.
may joe
chargeable.

Horseman and Armes as aforesaid by joyning two or three or more persons togeather im the charge as to theire
jodgement shall appeare most conducible to the service of this Kingdome

== ———eeaaaoeaaaoaooaooEoEooooo————— EO

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A.DAGE2. 14° Car. IL. ¢.3.

Ss

Proviorp That no person that hath not One hundred pounds per ann® in posession in Lands Tenemenss or
Hereditaments Leasehold or Copihold or Twelve hundred pounds personal Estate shall be compellable to contribute in
finding any Horse and Horseman with Armes And the said respective Leiutenants and Deputies or any three
ot more of them shall have power to heare Complaints and examine Witnesses upon Oath (which Oath they have

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hereby power to administer) and [to'] give redresse according to the merits of the cause in matters relating to the j'ermmer

execution of this A@

Be it further Enacted That the said Leiutenants and Deputies or any three or more of them in theire several
Counties and places respectively shall require and direét all persons so charged as aforesaid with Horse Horsemen
and Armes to allow Two shillings by the day to the Troopers that serve with theire Horse and Armes for the
maintenance of the Man and Horse and Twelve pence a day for the Foot Souldiers (if they serve not in theire
owne persons) for so many dayes as they shall be absent from theire Dwellings and Callings by occasion of Muster
or Exercise.

Ayp for furnishing Ammunition and other Necessaries the said respedive Leiutenants and Deputies or any three
or more of them shall have power to lay fitting Rates upon che respective Counties and Places not exceeding in
the whole in any one yeare the proportion of a fourth part of One Moneths Assessment in each County after the
Rate of Seaventy thousand pounds by the Moneth now or late charged by an A@ intituled An A@ for the raising
of Seventy thousand pounds for the further Supply of His Majesty which Moneys are to be assessed collected and
paid by such psons and according to such Directions as shall be given from time to time by the said respective
Leiutenants & Deputies or any three or more of them under the like penalties and by the like wayes & meanes as
are prescribed in the said A@ for the Seventy thousand pounds by the Moneth And in case of Invasions Insurrections

or Rebellions whereby occasion shall be to draw out such Souldiers into a@uall Service the persons so charged as ‘<)

aforesaid shall provide each theire Souldier respectively with pay in hand not exceeding one moneths pay as shall be
in that behalfe diretted by the said respective Leiutenants and in theire absence as aforesaid or otherwise by theire
diredtions by theire Deputies or any two or more of them for repayment of which said Moneys and for satisfacCén of
the Officers for theire pay during such time not exceeding one moneth as aforesaid as they shall be with’ theire
Souldiers in such said aCtual service It is hereby declared That provision shall be made for the same by His Majesty
His Heires and Successors out of His or Theire Publique Treasury or Revenue Nevertheles it is hereby further
Provided and Enacted That in case a moneths pay shall be provided and advanced as aforesaid that no person who
shall have advanced his proportion thereof shall be charged with any other like moneths payment untill he or they
aball have beene reimbursed the said Moneths pay & so from time wo time the Moncihs pay by him or them last
before provided and advanced as aforesaid

Awnp be it Enaéted that the said Leiutenants and theire Deputies or the Cheife Officers upon the place in the
respeQive Counties and places as aforesaid may charge Carts Wagons Wayns and Horses for the carrying of

for
Powder Match Bullet and other Materials allowing six pence a Mile outward only to every such Cart Wagon

aad Wayn with five Horses or six Oxen and so propordinably And for every Horse imployed out of Wagon or
Cart for the uses aforesaid one penny so taken wpon the Martching of any Regiment Company or Troope upon
occasion of Invasion Insurrection or Rebellion And that the said Leiutenants or Deputies or the Cheife Officers
upon the place shall and may imprison Mutineers and such Souldiers as doe not theire Duties as Souldiers at
the day of theire Musters and Training and shall and may inflict for punishment for every such Offence any

pecuniary Mul not exceeding five shillings or the penalty of Imprisonment without Bail or Mainprise not exceeding

twenty dayes

Ano be it further Enatted if any person or persons so to be assessed or charged by the said Leiutenants and
Deputies or any three or more of them respettively shall refuse or negle&t by a reasonable time to be appointed to
provide and furnish such sufficient Horse and Horseman Horses and Horsemen Armes and other Furniture or to
pay such sum or sums of Money towards the providing and furnishing as aforesaid That then it shall and may be
lawfull to and for the respective Leiutenants & Deputies or any three or more of them for every such Offence from
time to time to infli@ a penalty upon such persons not exceeding twenty pounds And alsoe by Warrant under theire
or any three or more of theire hands and Seales to levy such siim or siims of maney or the value of such Horse
ot Horses Armes and Furniture and such penalty infliéted by Distresse and sale of the goods of the person or
persons so neglecting or refusing rendring the overplus to the party soe distrained all necessary charge in levying
thereof being first deducted And it is declared that the same be imployed to the same uses in default whereof the
‘same was imposed

Anp be it further Enaéted That if any person or persons so to be armed arrayed and weaponed shall detaine or
imbezil his Horse Armes or Furniture wherewith he ought to serve or is intrusted that it shall and may be lawfull to
and for the said respective Leiutenants and in theire absence as aforesaid or otherwise by theire directions to and for
theire Deputies or any two or more of them to imprison such person and persons till he or they have made satisfaétion
for the Horse Armes or other furniture so by him detained or imbezelled And alsoe that if any person so to be
armed horsed or weaponed as aforesaid shall not appeare and serve compleatly furnished with Horse and Armes and
other Furniture wherewith he is intrusted at the beat of Drum sound of Trumpet or other Summons that then and soe
often it shall and may be lawfull to and for the said respective Leiutenants and in theire absence as aforesaid or

* interlined om the Roll.
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Hours at which
Search may be
made.

If Search resisted,
Force may be weed.

Proviso for Peers.

Arms wired may
be restored.

xIv.
Coostables, ire.

14° Car. Il. c. 3. A.D.1662,

otherwise by theire diretions to and for theire Deputies or any two or more of them if the default be in the person or
persons 60 intrusted to imprison such person or persons for the space of five dayes without Baile or Mainprize or to
infi@ the penalty if a Horseman not exceeding twenty shillings and if a Foot man not exceeding ten shillings to be paid
downe without delay or forbearance And if any person or persons so assessed or charged as aforesaid shall refuse of
neglect to send in or deliver his Horse Armes or other Furniture upon such summons or other notice as aforemid
‘That then and so often it shall and may be lawfull to and for the said respective Leiutenants & theire Deputies or any
three or more of them to infli€ a penalty not exceeding five pounds to be levied by Distresse and sale of the Goods
of such person or persons so refusing as aforesaid rendring the overplus to the party distrained necessary Charges for
levying being first dedu€ed

Avo for the better Discovery of the ability of the persons so to bee assessed and charged and (‘) all Misdemeanors
tending to the hinderance of the service aforesaid the said respeétive Leiutenants and theire Deputies or any three or
more of them are hereby enabled to examine upon Oath such person or persons as they shall judge necessary or
convenient or shall be produced by the party charged or accused other then the persons themselves [soe*] to bee
assessed and accused

Anp for the better and more speedy execution of the Pisses bee it further enaéted Thar the said respective
Leiutenants shall bee and are hereby required to appoint one or more Treasurer or Treasurers Clerke or Clerkes for
receiving & paying such moneyes as shall be levied by vertue hereof of all which Receipts and Disbursements thereof
the said Treasurer Clerke and Clerkes are every six Monethes to give theire Accompts in writing and upon Oath
to the said Leiutenants and theire Deputies or any three or more of them which Oath they have hereby power to
administer And the said Accompt soe to be taken shall be forthwith certified to the Lords of His Majesties most
Honorable Privy Councell and a Duplicate thereof shall be certified to the Justices of [the "] Peace att the next
Generall Quarter Sessions

Axo be it further enacted That the Deputy Leiutenants shall observe and obey such Orders and Diredtions as
they shall from time to time receive from the respective Leiutenants for the putting in execution the Powers given
by this Aa.

Awp for the better sccuring the Peace of the Kingdome be it further enacted and ordained and the respective
Leiutenants or any twoe or more of theire Deputies are hereby enabled & authorized from time to time by Warrant
under theire Hands and Seales to employ such Person or Persons as they shall thinke fitt (of which a Commissioned
Officer and the Constable or his Deputy or the Tythingman or in the absence of the Constable and his Deputy and
Tythingman some other Person bearing Office within the Parish where the Search shall be shall be two) to search for
and scize all Armes in the custody or p ion of any p or pe whom the said Leiutenants or any two or
more of theire Deputies shall judge dangerous to the Peace of the Kingdome and to secure such Armes for the
service aforesaid and thereof from time to time to give Accounts to the said respective Leiutenants and in theire
absence as aforesaid or otherwise by theire direGtions to theire Deputies or any two or more of them. [Provided that
no such Search be made in any house or houses between Sun setting and Sun rising other then in Cities and theire
Suburbs and Townes Corporate Market Townes and houses within the bills of Mortality where it shall and may be
lawfull to search in the night time by Warrant as aforesaid if the Warrant shall so dire& and in case of resistance to
enter by force And that no dwelling house of any Peere of this Realme be searched by vertue of this A@ but by
immediate Warrant from His Majesty under His Sign Manual or in the presence of the Leiurenant or one of the Deputy
Leiutenants of the same County or Riding And that in all places and houses whatsoever where search is to be made
as aforesaid it shall and may be lewfull in case of resistance to enter by force And that the Armes so seised may bee
restored to the Owners againe if the said Leiutenants or in theire absence as aforesaid theire Deputies or any two or
more of them shall so thinke fit. * )

Anp be it Enaéted that all bigh Constables petry Constables and other Officers and Ministers within the mid

hereby saved harmeles and indemnified in that behalfe

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a

Anp be it further enacted and ordained That where any persSn or persons shall be charged by vertu

this A@ [to find “] a Horse & Horseman Horses and Horsemen and Armes or Foot souldier and Armes in such
County City or place where he or they do not reside or inhabit That then and in such cases

Laoncrants and Deputicn or any three or more of them shall send Notice of every such charge if such perce

have any land in his owne occupaéin to such person as he doth imploy as his servant in managing the same

And in case all his Lands or other Estate be demised and to farme let then to one or two of the most sufficient

Tenant or Tenants who shall have the same in theire occupation who are hereby required forthwith with all

‘of 0. * interlined on the Rell, > O. omits, * annexed to che Original AQ in a separate Schedule,
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convenient speed to convey the same to theire Master or Landlord respedtively And within such time as shall bee Teswmvce@arvatte
appointed in that behalfe bring an Accompt of theire Master or Landlords answer to the respedtive Leiutenants Neue to commey
and Deputies or any three or more of them and upon neglect or refusal of the Landlord to provide such Horse 26? Jy
and Horseman Horses & Horsemen and Armes or Yoot Souldier and Armes as is duly charged upon him [according bring answer to
to the Rates mentioned in this AG for the yearely Rent reserved upon every demise ot other grant and not jirateneme!
otherwise} within the time limited for that purpose that then the said Tenant or Tenants shall provide and do as  nrglett to provide,
the Landlord im that behalfe ought to have done And if the said Tenant or Tenants shall refuse or negleét to punto 2°?
provide such Horse and Horseman Horses and Horsemen and Armes or Foot Souldier and Armes as are charged ee,
upon his or theire Landlords within the time limitted that then and upon every such default it shall and may ™!*

be lawfull to und for the said respective Leiutenants and in theire absence as aforesaid or otherwise by theire
direftions to and for theire Deputies or any two or more of them by Warrant under theire hands and Seales

to levy all such penalties as are appointed by this AG by distresse and sale of the offenders goods rendring the

overplus to the party distrained

Anp it is hereby ordained and enaéted that it shall and may be lawfull to and for the said Tenant or Tenants Tee idadels
to defalke out of such Rent as shall be next due to his or theire Landlord all such Money as the said Tenant oF Rate past by them
Tenants shall necessarily lay out or expend in providing such Horse and Horseman Horses and Horsemen and ne io
Armes or Foot Souldier and Armes as are charged upon his or theire Landlord or shall pay or be leavyed upon Rent.
him or them by distresse for any default in manner as aforesaid Any condition reservation Covenant or Contraét for
the payment of his or theire Rent to the contrary in any wise notwithstanding And for soe docing the said Tenant Tensote
ot Tenants shall be indempnified by Authority of this Act unlesse the Landlord or Landlords shall make it appeare
within two Monethes after such levying such penalties before the respeétive Leiutenants and in theire absence as
aforesaid of otherwise by theire diredtions before theire Deputies or any two or more of them that the default

and penalty was occasioned by the wilfull neglect of the said Tenant or Tenants.

Puovipen also that no person being a Peer of this Realme shall be capable of ating or serving as Leiutenant Pome oe
or Deputy Leivtenant by verte of this A@ unless he or they shall first before six (of the*] Lords of His Majesties) Tieersnans
Privy Council for the time being or such other persons as shall be authorized by His Majesty to administer the ¢* Deputy
same take the Oaths of Allegiance and Supremacy and alsoe this Oath following 1. A.B doe declare and beleive that wien silleg,

it is not lawfull upon any pretence whatsoever to take Armes against the King And that I doe abhor that Quis = ese
traiterous Position that Armes may be taken by His Authority against His Person or against those that are Council may
Commissioned by Him in pursuance of such military Commissions So helpe me God Which Oathes they have

hereby power to administer

Anp that no person being under under the degree of a Peer of this Realm shall be capable of adting as Thebes
Leiutenant Deputy Leiutenant Officer or Souldier by vertue of this AG unlesse he or they shall first take the 4) to Persons under
Oathes of Allegiance and Supremacy and this Oath following 1 A.B. doe declare and beleive that it is not lawfull Degree of a Peer.
upon any pretence whatsoever to take Armes against the King And that I doe abhor that traiterous Position that
Armes may be taken by His Authority against His Person or against those that are commissioned by Him in
pursuance of such military Commissions. So help me God. Which Oathes any one Justice of Peace of the Justice of Peace
respective Counties and places aforesaid is enabled to administer to such respective Leiutenant as is not a Peer of tahOahee”
this Realm and the said Leiutenant or any one Justice of Peace of the respective Counties and places aforesaid is and Liewenants,
enabled to administer to the respective Deputy Leiutenants not being Peers and the said respettive Leiutenants and $52 OSes en
in theire absence as aforesaid or otherwise by theire directions when they are not absent theire Deputies or any two
of them shall and are hereby enabled to administer the said Oaths to the said Officers aud Souldiers,

Ano to the end there may be some convenient time to put in Execution the Powers of this A€@ and preparing Trained Bands, ke.
an Establishment according to the same be it hereby enacted That the Trained Bands and Forces now actually sow raised to
raixed and in being shall so continue in each respective City and County of England and Wales untill the five March vay
and twentieth [day’] of March One thousand six hundred sixty and three and no longer unlesse an Establishment
according to this A@ be no sooner had Any thing in this present AG to the contrary in any wise notwithstanding.

Anp it is hereby declared and cnadted That the ordinary times for training exerciseing and mustering the Forces Xx.
to. be raised by vertue of this AG shall be these following (that is to say) the General Muster and Exercise of Piers {ot Trvining,
Regiments not above once a Yeare the training and exerciseing of single Companies not above foure times a Yeare
unlesse speciall Diregtions be given by His Majestie or His Privy Council Amd that such single Companies and Single Companies
Troopes shall not att any one time be continued in Exercise above the space of two dayes And that att a General] how long to be

. . Continued in
Muster and Exercise of Regiments no Officer or Souldier shall be constrained to stay for above foure dayes Exercise,
togeather from theire respective habitaCins And that att every such Muster and Exercise every Musq shall A ios to

bring with him halfe a pound of Powder [at the charge of such person or persons as provide the said Foote ff, broveM
Souldier and Armes and every Horseman is to bring with him a quarter of a pound of Powder att the charge of
such person or persons as provide the said Horse Horseman and Armes'] And the Arines offensive and defensive Arms offensive
with the Furniture for Horse are to be as followeth The defensive Arms a Back Breast and Pott and the Breast $i! dfeomve
and Port to be Pistoll prooffe The offensive Armes a Sword and a Case of Pistolls the Barrells whereof are not

‘annexed to the Original AQ in a separate Schedule. * interlined on the Roll. + 0. omits.
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to be under fourteen Inches in léngth The furniture for the Horse to be a great Sadle or Padd with Borrs and
Strapps to affix the Houlsters unto a Bitr and Bridle with a Pectorell & Crupper For the Foot a Musqueteet is to
have a Musquett the Barrell whereof is not to be under three Foot in length and the Gage of the Bore to be
for twelve ve Bulletss to the pound A Coller of Bandeleers with a Sword Provided that all Muster Masters shall
for the allow of any Musquetts already made which will beare a Bullett of fourteen to the
pound But no Musquetts which henceforth shall be made are to be allowed of but such as are of the gage for
twelve Bulletts to the pound A Pike man is to be armed with a Pike made of Ash not under sixteene foote in
Jength (the Head and Foote included) with a Back Breast Head peice and Sword Provided that all Muster Masters
shall for the present admitt and allow of any Pikes already made that are not under fifteen foot in length but
no Pikes which shall be hereafter made are to be allowed of that are under sixteene foot in length

Xxt Provinen also and be it enaéted by the Authority aforesaid That the Militia of the Island of Purbeck shall
Militia of the remaine separate from the County of Dorsett as heretofore hath beene used And that His Majesties Leiutenant of
Island of Purbeck. the said Island and his Deputies or any three or more of them for the time being shall have power for the

levying arraying mustering and conduéting of such number of Foot for the defence of the said Island in such
manner and by such wayes and meanes as heretofore hath beene used And alsoe to use and execute within the
said Island all and every the Powers which by the true Intent of this A@ any of His Majesties Leiutenants or his
or theire Deputies or any of them might in any respective County use or execute

XXL. Provivep neverthelesse and be it Enaéted by the Authority aforesaid That in case of apparent danger to the
Danger, the King Present Government it shall fand may be lawfull for His Majesty att any time or times that the same shall sce
Ot enna ene happen during the space of three yeares from the five and twentieth day of June in the Yeare One thousand six
Year, and wo for ‘bundred sixty and twoe to raise such sum or sums of money for the defraying of the whole or such part of the
co” Militia aforesaid as His Majesty shall find himselfe obliged to imploy in order to the quict and security of this
Lieutenants, kc. Nation the said sim not exceeding Seventy thousand pounds in one whole yeare And the same to be raised by

His Majesties Leiutenants or in theire absence as aforesaid by theire Deputies in theire respective Counties according
13 Car, JI, Stat.2, to the rules & directions in an Aét in this Parliament for the raising of Eighteen moneths Assessment after the
“5 rate of S y th A ds per as alsoe to continue the space of three yeares from the aforesaid
five and twentieth day of June and no longer Any thing in this A& or any other to the contrary notwithstanding

XXIIL. Be it alsoe enacted Thar all Constables Tichingmen or other Officer or Officers who since the Foure and
Cocsabless &< — twenticth of June One thousand six hundred and sixty have paid or disbursed or before the settlement of the
Monies paid by —- Militia to be established by vertue of this AG shall pay or disburse any moneys for buying of Armes or defraying
pence reloang of Charges of Souldiers sett or to be sctt upon theire respective Parishes shall be reimbursed the same by those
to pay Rate. who have refused to pay theire proportions thereof And in case hee or they shall refuse to pay the same then
Persons refusing to. be _levyed by distresse and sale of Goods rendring the Overplus to the Owner or Owners by Warrant under
Ces the Hand and Seale of the Leiutenant or Leiutenants or in his or theire absence or otherwise by theire dire‘tion
Distress. when they are not absent of any two of theire Deputies direéted to the respective Constables Tything men or other

Officer or Officers aforesaid of theire respective Parishes

XXIV. Provinrn alwaies and it is hereby further enacted and declared ‘That no person charged with the finding of
Porseee ches Horse of Foote or with contributing thereunto as aforesaid shall be compellable to serve in his or theire proper
to serve personally, person but may according to such proportion as they are or shall respectively be charged by this A@ find one
bot may nd ® or more fitt or sufficient man of men qualified according to this AG to be approved by his or theire Captain

respectively subject neverthelesse to be altered upon appeal to the Leiutenant or in his absence as aforesaid to his
Substitute require? Deputy Leiutenante or any two of them as there shall be cause And that every such person or persons so found
to serve, and provided shall and hereby are required to serve as Souldier and Souldiers in such manner and under such
Persons serving to penalties as are before appointed in this A¢t And that every person or persons who shall serve in his or theire
Fin ee eee owne persons (who are alsoe to be approved of as aforesaid) or such person or persons as shall be accepted in
and Places of his or theire stead shall att the next Muster of such Troope or Company in which he or they are to serve give
Abode, in his or theire Christian and Sirnames and places of abode unto such person as the Leiutenant or in his absence

as aforemid or by his direétion when he is not absent any two Deputy Leiutenants shall appoint to the end
Persons lined the same may be fisted And that from thenceforth such person so listed shall not be exchanged or desert the
deserting 5 said service or be discharged thereof but by the leave and order of the Leiutenant or two Deputy Leiutenants
gies or his Captaine upon reasonable cause (subject neverthclesse upon appeale to be determined as aforesaid) first
without Lewes obtained in writing under his or theire hands and seales under pain that such person departing from the said
Pesalty £20. service, without leave as aforesd shal pric the sim of Teeny pounds to be leeyed upon his Goods a

Chartells in such manner as is by this Act appointed for the levying of other penalties And for [non'] payment

Distress or or want of distresse then every such person to be comitted to the Cdmon Goal of the County for any time not
exceeding three monthes without bail or mainprize Any thing in this AG to the contrary (*) notwithstanding

XXV. Provipen alwaies and be it Enacted That nothing in this A@ contained shall extend to put any new charge

a of Armes upon the ‘Finners in the Counties of Devon and Comwall other then the Tax menined in the former

Coruwall. Proviso But that the Lord Warden of the Stanaries for the time being in pursuance of His Majesties Commission

in that behalfe and such as he shall commissionate and authorize under him according to the Rules and

+ pone O. * in any wise O.
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Directions before mendoned in this Act shall and may have and tse [the like Powers and array assess arm mustet
and exercise the said Tinners within the said Counties and either of them as hath been heretofore used and
according to the ancient Priviledges and Customes of the said Stanaries observing the Rules and Proportions
appointed by this A@'] Any thing in this AG to the contrary notwithstanding

Provipap alwaies and bee it enaéted by the Avthority aforesaid That His Majesties Leiutenants that are or shail
be commissionated for the Militia of the City of London may and shall continue to list and levy the Trained Bands
& Auxiliaries of the said City as to number and qualiry of the persons in such manner as was used in forming
the plsent Forces now raised by His Majesties Commission And in regard of the extraordinary duties which the
Forces of the said City that now are and formerly were raised in order to His Majesties happy Restauration
(haveing *} of late and may againe be put to for the safety of His Majesties Person and for suppressing or preventing
of Insurredtions that it shall and may be lawfull for his Majesties Leiutenant¢ of the said City by Warrant from
His Majestie to impose and levy yearely in the same so much money as they shall find needfull for defraying the
Arreares of those first raised for His Majesties happy Restauration and the Arreares and necessary charge of those
that now are and shall be raised with the Ammunition and other incident expences of theire Militia in such
manner as the psent Assessment is now levied and not exceeding in any one yeare the proportion of One moneths
Tax which the said City now payes towards the Tax of Seaventy thousand pounds by the Moneth and shall be
accomptable for the same as by this A& is ordained Any thing in this Act to the contrary of this Proviso in any
wise potwithstanding
Pnovipen alwaies That no Officer or Souldier of the Militia or Trained Bands belonging to any City Borough
or Towne Corporate being a County of it selfe or to any other Corporation or Port ‘lown who have used and
accumomed to bee mustered only within theire owne ping shall be compellable to appeare [out’] of the
Precinét¢ or Liberties of the same City Borough Towne Corporate or Port Towne att any Muster or Exercise
only and every of the said Cities Boroughs Towns Corporate and Port Towns are hereby chargeable to find theire
usuall number of Souldiers unlesse the respediive Leiutenants find cause to lessen the same Any thing in this
AG to the contrary notwithstanding

Proviveo That this A& or any thinge herein contained shall not extend to avoid any Covenant or Agreement
which hath beene or shall be made betweene any Landlord and Tenant concerning the finding Horses or Armes
or the bearing or paying of any [Taxes Rates or other charges by any Tenant either by generall of special
Covenants but that the said Taxes Rates or other Charges shall be borne and paid by all respective Tenants
xcording to the said Covenant¢ and Agreement( Any thing in this A@ to the contrary thereof in any wise
notwithstanding *]

Provipep That this A@ or any thing therein contained shall mot extend to make any alteration in the Isle of
Wight as to the Militia in that place either to raise Horse or Foote within the said Isleland in any other manner
then hath beene formerly and is now used & practised there

Provinen alsoe and be it enacted That whereas the Militia of the Tower Division in the County of Middlesex
comonly knowne by the name of the Tower Hamletts are and alwaies have beene under the cimand of His
Majesties Constable or Leiutenant of the Tower for the Service and Preservation of that His Royal! Fort thar it
shall and may be lawfull for His Majesties Constable or Leiurenant of the Tower for the time being tw continue
to levy the Trained Bands of the said Division or Hamlets of the Tower in such manner and form as to the
number and quality of persons as was observed in forming the present Forces thereof Any thing in this AQ to
the contrary notwithstanding

Provinso that neither this AG nor any matter or thing therein contained shall be deemed construed or taken
to extend to the giveing or declareing of any power for the transporting of any the Subjects of this Realme or
any way compelling them to march out of this Kingdome otherwise then by the Lawes of England ought to
be done

Puovipen alwaies and be it enatted by the Authority aforesaid That no Peer of this Realme shall be charged
with Horse Horsemen and Armes or Foote Souldiers and Armes otherwise or in any other manner then is herein
alter expressed (that is to say) that His Majestie His Heires and Successors shall and may from time to time
issve out Commissions under the Great Seale of England to so many Peeres (not fewer then twelve) as His Majestie
His Heires and Successors shall thinke fitt who or any five or more [of'] them shall have power from time to
Sime to assess all and every or any the Peers of this Realme according to the limitations and proportions in this
AG appoimed for the finding of Horse Horsemen and Armes or Foot Souldiers and Armes and for other the
purposes in this AG menCéned (except the Monthly ‘Taxes which are to be leavied as wm before pscribed in this
AQ) and shall have power to put in execuCin all and every the Powere and Authorities of this AQ as weil for
laying Assessments as imposing of Penalties (Imprisonment of the person of any Peere of this Realm only excepted)
which Assessment or Charge so made togeather with such penalties as shall be soe imposed (Impri as

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XXVIII.
Officers of Soldiers
of Trained Bands
pot Table to
appear at Moster,
&ec. out of their
City of Town.

XXXL
Proviso as to

marching the
Su at oat of
the

XXXII.
In what manner
Peers are to be
charged.

Wenstiy ‘Taxes

Impneoement of
Peers pied

aforessid only excepted) shall be from time to time respettively certified to the respective Leiutenants of each
County wo the intent ahat the said Charge may be borne and the penalties (not before excepted) levied according

‘annexed to the Original AG in a separate Schedule, *have O. ? imterlined on the Roll.
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fuse making to the intent of this A€ And that in case there shall be any default in performance of any thing to be done or

paid by any Peer by vertue of this A@ that then it shall be lawfull for the respective Leiutenants & Deputy Lejutenanee

oe any thee of them to cause Distreses to be taken for the same in any of the lands of soch Defouler whe
said Counties or Limit? respectively And in case satisfaction shall not be given within the space of one
after such Distresse taken then such Distresses to be sold for the performance of the said Service and the
es of my

Ret. Parl. 14.1% Am Act for the Uniformity of Publique Prayers and AdministraGén of Sacraments & other Rites & Ceremonies

fi meg and for establishing the Form of making ordaining and consecrating Bishops Preists and Deacons in the Church
of England.

Recie] thet in the PV TERPS in the Gat peace ofthe lace Queene Elizabeth, there war one uniforme Order (of Conan Servi

Bae Yoorel Queve and Prayer and of the Administration of Sacraments Rites and Ceremonies in the Church of Englasd

eater Onter of (agreeable to the Word of God and usage of the Primitive Church) compiled by the Reverend Bishopps and

red Clergy set forth in one Booke entituled The Booke of Cimon Prayer and Administration of Sacraments and other

and eajvined Rites and Ceremonies in the Church of England and enjoyned to be used by AQ of Parliament holden in the
1 Elie. c. 2. said First yeare of the said late Queene entituled An Aét for the Uniformity of Cimon Prayer and Service in the
Church and Administration of the Sacraments very comfortable to all good people desirous to live in Christian
conversation and most profitable to the Estate of this Realme upon the which the Mercy Favour and Blessing of
Almighty God is in no wise so readily and plentifully poured as by Cimon Prayers due useing of the Sacraments
that many Persoos and often preaching of the Gospell with Devotion of the Hearers And yet this notwithstanding a great number
ee ica of people in divers parts of this Realm following theire owne litie and liveing without knowledge and due
Parish Chorebs fare of God do willfully and schismatically abstaine and refuse to come to theire Parish Churches and other
Publique places where Cimon Prayer AdministraGin of the Sacraments and preaching of the Word of God is
that by the Negke& used upon the Sundayes and other dayes ordained & appointed to be kept and observed as Holy dayes And
qMMinwtcrs ™=8F whereas by the great and scandalous negle€t of Ministers in using the said Order or Liturgy so set forth and
fed into Schism; — enjoyned as aforesaid great mischeifs & inconveniencies during the times of the late unhappy troubles have arisen
and grown and many people have beene led into Fa¢tions and Schismes to the great decay and scandal! of the
Reformed Religion of the Church of England and to the hazard of many souls [For prevention whereof in time
to come for setling the Peace of the Church and for allaying the present distempers which the indisposicia of
that His yx, the time hath contracted The Kings Majestic according to His Declaration of the Five and twentieth of Odtober
poles te One thousand six hundred and sixty granted His Comission under the great Seale of England to severall Bishops
asth Oc, 1660, and other Divines to [re']view the Booke of Camon Prayer and to prepate such Alterations and Additions as they
Ci grmed * thought fitt to offer And afterwards the Convocations of both the Provinces of Canterbury and Yorke being by
rrview the Book of His Majesty called and assembled and now sitting His Majestic hath beene pleased to authorize and require the
cance ha’ — Presidents of the said Convocations and other the Bishopps and Clergy of the same to reveiw the said Booke of
Ccavocations were CSmon Prayer and the Booke of the Forme and manner of the making and consecrating of Bishops Preiss and

Porpose j Deacdns And that after ideraGin they should make such Additions and Alterations in the said Bookes
respectively as to them should seeme meet and convenient and should exhibit and present the same tw His
Majesty in writing for his further all ¢ or confirmation since which time upon full and mature deliberation
they the said President¢ Bishops and Clergy of both Provinces have accordingly reviewed the said Bookes and
have made some Alterations which they thinke fitt be inserted to the same and some additional] Prayers to
that they had = the: said Booke of Cémon Prayer to be used upon proper and emergent occasions And have exhibited and
weaned Ha presented the same unto His Majestic in writing in one Booke entituled ‘The Booke of Cimon Prayer and
Connee Feren Administration of the Sacraments and other Rites and Ceremonies of the Church according to the use of the
allowed and Church of England togeather with the Psalter or Psalmes of David pointed as they are to be sung or said in
eocomnmanded to Churches and [the'] forme and manner of making ordaining and consecrating of Preists and Deacons All
fume shoskd which His Majesty haveing duly considered hath fully approved and allowed the same and od recOuendel vo
be oad in ai Paent Parliament shat the said Bookes of Comon Prayer and of the forme of Ordination and Consecration of
Bishops Preists and Deacons with the Alterations and Additions which have beene soe made afd p\ented to his
Majesty by the said Convocations be the Booke which shall be appointed to be used by all that officiate in all
Cathedrall and Collegiate Churches and Chappelis and in all Chappells of Colledges and Halls in both the Universities

and the Colledges of Eaton and Winchester and in all Parish Churches and Chappells within the Kingdome of

England Dominion of Wales and Towne of Berwick vpon Tweed and by all that make or consecrate Bishops Preists

or Deacons in any of the said places under such Sanctions and Penalties as the Houses of Parliament shall thinke

that an uriversal . fitt."] Now im regard that nothing conduceth more to the setling of the Peace of this Nation (which is desired
Atty corducrth of ail good men) nor to the honour of our Religion and the propagation thereof then am universall agreement
ee ee in the Publique Worshipp of Almighty God and to the intent that every person within this Realme may certainely

+ innerlined on the Roll. * annexed to the Original AQ in a separate Schedule.
